   Case 18-14603-MBK                       Doc 1018 Filed 01/15/20 Entered 01/16/20 00:34:22                      Desc
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  SXUSRVHV
Case 18-14603-MBK          Doc 1018 Filed 01/15/20 Entered 01/16/20 00:34:22                       Desc
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  3DJH  
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  UHRUJDQL]DWLRQGDWHG$SULO WKH³3ODQ´ IRUWKH'HEWRUVLQWKLVFDVH7KH&RXUWKDV
  DSSURYHGDGLVFORVXUHVWDWHPHQWZLWKUHVSHFWWRWKH3ODQ WKH³'LVFORVXUH6WDWHPHQW´ 7KH
  'LVFORVXUH6WDWHPHQWSURYLGHVLQIRUPDWLRQWRDVVLVW\RXLQGHFLGLQJKRZWRYRWH\RXUEDOORW,I
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  3ODQ<RXUFODLPKDVEHHQSODFHGLQ3$)&ODVVXQGHUWKH3ODQDVD³*HQHUDO8QVHFXUHG
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  WKH%DQNUXSWF\&RXUWLQWKLVFDVH\RXUYRWHZLOOQRWFRXQWDVHLWKHUDQDFFHSWDQFHRU
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  UHRUJDQL]DWLRQGDWHG$SULO WKH³3ODQ´ IRUWKH'HEWRUVLQWKLVFDVH7KH&RXUWKDV
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  6WDWHPHQWDVZHOODVWKH3ODQDQGDQ\SOHDGLQJVILOHGLQWKLVFDVHRQWKH&RXUW¶V,QWHUQHW
  :HEVLWHKWWSZZZQMEXVFRXUWVJRY$ORJLQDQGSDVVZRUGWRWKH&RXUW¶V3XEOLF$FFHVVWR
  (OHFWURQLF&RXUW5HFRUGV ³3$&(5´ DUHUHTXLUHGWRDFFHVVWKLVLQIRUPDWLRQDQGFDQEHREWDLQHG
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  'LVFORVXUH6WDWHPHQWPD\DOVREHREWDLQHGE\ZULWWHQUHTXHVWWRWKH'HEWRUV¶FRXQVHODW
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  WRVHHNOHJDODGYLFHFRQFHUQLQJWKH3ODQDQG\RXUFODVVLILFDWLRQDQGWUHDWPHQWXQGHUWKH
  3ODQ<RXUFODLPKDVEHHQSODFHGLQ3$)&ODVVXQGHUWKH3ODQDVD³5DQJHU&ODLPV´
  ZKLFKLVGHILQHGXQGHUWKH3ODQDVLQVXPD&ODLPWKDWLVILOHGE\5DQJHU2IIVKRUHDQG
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  WRVHHNOHJDODGYLFHFRQFHUQLQJWKH3ODQDQG\RXUFODVVLILFDWLRQDQGWUHDWPHQWXQGHUWKH
  3ODQ<RXUFODLPKDVEHHQSODFHGLQ3$)&ODVVXQGHUWKH3ODQDVDQ³,QWHUFRPSDQ\
  &ODLP´ZKLFKLVGHILQHGXQGHUWKH3ODQDVLQVXPD&ODLPWKDWLVILOHGE\3$,)DJDLQVW
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  GDWHG$SULO WKH³3ODQ´ IRUWKH'HEWRUVLQWKLVFDVH7KH&RXUWKDVDSSURYHGD
  GLVFORVXUHVWDWHPHQWZLWKUHVSHFWWRWKH3ODQ WKH³'LVFORVXUH6WDWHPHQW´ 7KH'LVFORVXUH
  6WDWHPHQWSURYLGHVLQIRUPDWLRQWRDVVLVW\RXLQGHFLGLQJKRZWRYRWH\RXUEDOORW,I\RXGRQRW
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  KWWSZZZQMEXVFRXUWVJRY$ORJLQDQGSDVVZRUGWRWKH&RXUW¶V3XEOLF$FFHVVWR(OHFWURQLF
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  WRVHHNOHJDODGYLFHFRQFHUQLQJWKH3ODQDQG\RXUFODVVLILFDWLRQDQGWUHDWPHQWXQGHUWKH
  3ODQ<RXUFODLPKDVEHHQSODFHGLQ3$,)&ODVVXQGHUWKH3ODQDVD³*HQHUDO8QVHFXUHG
  &ODLP´ZKLFKLVGHILQHGXQGHUWKH3ODQDVLQVXPD&ODLPWKDWLVQRWDQDGPLQLVWUDWLYH
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  HTXDOWRWKH$OORZHGDPRXQWRIVXFK&ODLP,I\RXKROGFODLPVRUHTXLW\LQWHUHVWVLQPRUH
  WKDQRQHFODVV\RXZLOOUHFHLYHDEDOORWIRUHDFKFODVVLQZKLFK\RXDUHHQWLWOHGWRYRWH
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  WKH%DQNUXSWF\&RXUWLQWKLVFDVH\RXUYRWHZLOOQRWFRXQWDVHLWKHUDQDFFHSWDQFHRU
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  FDSWLRQHGPDWWHU DOWHUQDWLYHO\WKH³'HEWRU´RUWKH³3URSRQHQW´ ILOHGDSODQRIUHRUJDQL]DWLRQ
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  6WDWHPHQWSURYLGHVLQIRUPDWLRQWRDVVLVW\RXLQGHFLGLQJKRZWRYRWH\RXUEDOORW,I\RXGRQRW
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  GDWHG$SULO WKH³3ODQ´ IRUWKH'HEWRUVLQWKLVFDVH7KH&RXUWKDVDSSURYHGD
  GLVFORVXUHVWDWHPHQWZLWKUHVSHFWWRWKH3ODQ WKH³'LVFORVXUH6WDWHPHQW´ 7KH'LVFORVXUH
  6WDWHPHQWSURYLGHVLQIRUPDWLRQWRDVVLVW\RXLQGHFLGLQJKRZWRYRWH\RXUEDOORW,I\RXGRQRW
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  ZHOODVWKH3ODQDQGDQ\SOHDGLQJVILOHGLQWKLVFDVHRQWKH&RXUW¶V,QWHUQHW:HEVLWH
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  /DZORUE\QRODWHUWKDQSP(67RQBBBBBBBB WKH³9RWLQJ'HDGOLQH´ 




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         3/($6(7$.()857+(5127,&(7+$7DOOREMHFWLRQVWRFRQILUPDWLRQRIWKH3ODQRU

  SURSRVHGPRGLILFDWLRQVWRWKH3ODQLIDQ\PXVW D EHLQZULWLQJ E VWDWHWKHQDPHDQGDGGUHVVRIWKH

  REMHFWLQJSDUW\DQGWKHDPRXQWDQGQDWXUHRIWKHFODLPRULQWHUHVWRIVXFKSDUW\ F VWDWHZLWK

  SDUWLFXODULW\WKHEDVLVDQGQDWXUHRIDQ\REMHFWLRQWRWKH3ODQDQG G EHILOHGWRJHWKHUZLWKSURRIRI

  VHUYLFHZLWKWKH&RXUWDQGVHUYHGVRWKDWWKH\DUHUHFHLYHGE\ L WKH&OHUNRIWKH&RXUW LL :ROOPXWK

  0DKHU 'HXWVFK//3)LIWK$YHQXH1HZ<RUN1HZ<RUN$WWQ-DPHV1/DZORU

  FRXQVHOWRWKH7UXVWHHDQG LLL WKH867DWWKHDGGUHVVHVVHWIRUWKLQWKH&RQILUPDWLRQ+HDULQJ1RWLFH

  QRODWHUWKDQVHYHQ  GD\VEHIRUHWKH&RQILUPDWLRQ+HDULQJ

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  6WDWHPHQWDVZHOODVDQGDQ\SOHDGLQJVILOHGLQWKLVFDVHFDQEHREWDLQHGRQWKH&RXUW¶V,QWHUQHW

  :HEVLWHKWWSZZZQ\VEXVFRXUWVJRY$ORJLQDQGSDVVZRUGWRWKH&RXUW¶V3XEOLF$FFHVVWR

  (OHFWURQLF&RXUW5HFRUGV ³3$&(5´ DUHUHTXLUHGWRDFFHVVWKLVLQIRUPDWLRQDQGFDQEHREWDLQHG

  WKURXJKWKH3$&(56HUYLFH&HQWHUKWWSZZZSDFHUSVFXVFRXUWVJRY&RSLHVRIWKH'LVFORVXUH

  6WDWHPHQWDQGWKH3ODQPD\DOVREHREWDLQHGE\ZULWWHQUHTXHVWWRWKH7UXVWHH¶VFRXQVHODW:ROOPXWK

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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-14603-MBK
Princeton Alternative Income Fund, LP                                                                      Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 4                          Date Rcvd: Jan 13, 2020
                                      Form ID: pdf903                    Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 15, 2020.
db             +Princeton Alternative Income Fund, LP,   100 Canal Pointe Blvd,   Ste 208,
                 Princeton, NJ 08540-7169
aty            +Sills Cummis & Gross, P.C.,   650 College Road East,   Princeton, NJ 08540-6603

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 15, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 13, 2020 at the address(es) listed below:
              Albert A. Ciardi, III    on behalf of Interested Party    Balance Credit 2 SPV, LLC
               aciardi@ciardilaw.com,
               sfrizlen@ciardilaw.com;dtorres@ciardilaw.com;jcranston@ciardilaw.com;aaecf-pa@ciardilaw.com
              Albert A. Ciardi, III    on behalf of Interested Party    SunUp Financial, LLC
               aciardi@ciardilaw.com,
               sfrizlen@ciardilaw.com;dtorres@ciardilaw.com;jcranston@ciardilaw.com;aaecf-pa@ciardilaw.com
              Albert A. Ciardi, III    on behalf of Interested Party    Braviant Holdings, LLC
               aciardi@ciardilaw.com,
               sfrizlen@ciardilaw.com;dtorres@ciardilaw.com;jcranston@ciardilaw.com;aaecf-pa@ciardilaw.com
              Amy Elizabeth Vulpio    on behalf of Interested Party    Endurance American Insurance Company
               vulpioa@whiteandwilliams.com
              Andreas Milliaressis     on behalf of Interested Party    Shinnecock Income Fund, LP
               adm@stevenslee.com
              Andreas Milliaressis     on behalf of Interested Party    Covenant Strategic Income Fund Series
               Interests of the SALI Multi-Series Fund II 3(c)(1), LP adm@stevenslee.com
              Angelo Anthony Stio, III    on behalf of Defendant    MICROBILT CORPORATION stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Defendant Alonzo J. Primus stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Defendant    Princeton Alternative Funding, LLC f/k/a
               Microbilt Capital Funding, LLC stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Defendant Philip N. Burgess stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Spec. Counsel    Pepper Hamilton LLP stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Plaintiff    Fund Recovery Services, LLC
               stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Interested Party    Pepper Hamilton LLP stioa@pepperlaw.com
              Angelo Anthony Stio, III    on behalf of Defendant    Microbilt Financial Services Corporation
               stioa@pepperlaw.com
              Arthur Abramowitz     on behalf of Defendant    Princeton Alternative Funding Management LLC
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Defendant Walter Wojciechowski
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Defendant John "Jack" Cook aabramowitz@shermansilverstein.com,
               jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Attorney Arthur J. Abramowitz
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Defendant Alonzo J. Primus aabramowitz@shermansilverstein.com,
               jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Debtor    Princeton Alternative Funding LLC
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Arthur Abramowitz     on behalf of Debtor    Princeton Alternative Income Fund, LP
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
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                              Form ID: pdf903             Total Noticed: 2


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Arthur Abramowitz     on behalf of Interested Party    MicroBilt Corporation
               aabramowitz@shermansilverstein.com, jbaugh@shermansilverstein.com;mmorris@shermansilverstein.com
              Benjamin Teich     on behalf of U.S. Trustee    U.S. Trustee Benjamin.Teich@usdoj.gov
              Brian Martin Schenker    on behalf of Interested Party    MicroBilt Corporation
               bschenker@reedsmith.com
              Bruce S. Luckman    on behalf of Defendant Walter Wojciechowski bluckman@shermansilverstein.com,
               jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Interested Party    MicroBilt Corporation
               bluckman@shermansilverstein.com, jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Defendant    Princeton Alternative Funding Management LLC
               bluckman@shermansilverstein.com, jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Defendant Alonzo J. Primus bluckman@shermansilverstein.com,
               jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Debtor    Princeton Alternative Income Fund, LP
               bluckman@shermansilverstein.com, jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Debtor    Princeton Alternative Funding LLC
               bluckman@shermansilverstein.com, jbaugh@shermansilverstein.com;bsluckman@gmail.com
              Bruce S. Luckman    on behalf of Defendant John "Jack" Cook bluckman@shermansilverstein.com,
               jbaugh@shermansilverstein.com;bsluckman@gmail.com
              David A. Haworth    on behalf of Creditor    Ranger Direct Lending Fund Trust
               haworthd@ballardspahr.com, sharpm@ballardspahr.com
              David A. Haworth    on behalf of Creditor    Ranger Specialty Income Fund, L.P.
               haworthd@ballardspahr.com, sharpm@ballardspahr.com
              David A. Haworth    on behalf of Creditor    Ranger Alternative Management, II, L.P.
               haworthd@ballardspahr.com, sharpm@ballardspahr.com
              Dean C. Waldt    on behalf of Creditor    Ranger Specialty Income Fund, L.P.
               waldtd@ballardspahr.com,
               hartt@ballardspahr.com;morganv@ballardspahr.com;KatsiffT@ballardspahr.com;digiacomom@ballardspahr
               .com
              Dean C. Waldt    on behalf of Creditor    Ranger Alternative Management, II, L.P.
               waldtd@ballardspahr.com,
               hartt@ballardspahr.com;morganv@ballardspahr.com;KatsiffT@ballardspahr.com;digiacomom@ballardspahr
               .com
              Dean C. Waldt    on behalf of Other Prof.    Ballard Spahr LLP waldtd@ballardspahr.com,
               hartt@ballardspahr.com;morganv@ballardspahr.com;KatsiffT@ballardspahr.com;digiacomom@ballardspahr
               .com
              Dean C. Waldt    on behalf of Creditor    Ranger Direct Lending Fund Trust waldtd@ballardspahr.com,
               hartt@ballardspahr.com;morganv@ballardspahr.com;KatsiffT@ballardspahr.com;digiacomom@ballardspahr
               .com
              Derek J. Baker    on behalf of Interested Party    Microbilt Financial Services Corporation
               dbaker@reedsmith.com
              Derek J. Baker    on behalf of Defendant Philip N. Burgess dbaker@reedsmith.com
              Derek J. Baker    on behalf of Interested Party Alonzo J. Primus dbaker@reedsmith.com
              Derek J. Baker    on behalf of Creditor    Westminster National Capital Co., LLC
               dbaker@reedsmith.com
              Derek J. Baker    on behalf of Defendant    Microbilt Financial Services Corporation
               dbaker@reedsmith.com
              Derek J. Baker    on behalf of Defendant    MicroBilt Corporation dbaker@reedsmith.com
              Derek J. Baker    on behalf of Defendant    LJP Consulting LLC dbaker@reedsmith.com
              Derek J. Baker    on behalf of Unknown Role Type    Reed Smith LLP dbaker@reedsmith.com
              Derek J. Baker    on behalf of Defendant    Rosebud Mangement, LLC dbaker@reedsmith.com
              Derek J. Baker    on behalf of Interested Party Philip N. Burgess dbaker@reedsmith.com
              Derek J. Baker    on behalf of Interested Party    LJP Consulting LLC dbaker@reedsmith.com
              Derek J. Baker    on behalf of Interested Party Walter Wojceichowski dbaker@reedsmith.com
              Derek J. Baker    on behalf of Interested Party    MicroBilt Corporation dbaker@reedsmith.com
              Francis Lawall     on behalf of Interested Party    Pepper Hamilton LLP lawallf@pepperlaw.com,
               henrys@pepperlaw.com
              George R. Hirsch    on behalf of Attorney    Sills Cummis & Gross, P.C ghirsch@sillscummis.com,
               mdelgiudice@sillscummis.com
              George R. Hirsch    on behalf of Debtor    Princeton Alternative Income Fund, LP
               ghirsch@sillscummis.com, mdelgiudice@sillscummis.com
              George R. Hirsch    on behalf of Debtor    Princeton Alternative Funding LLC
               ghirsch@sillscummis.com, mdelgiudice@sillscummis.com
              Gerald Krovatin     on behalf of Plaintiff    Princeton Alternative Funding, LLC
               gkrovatin@krovatin.com
              Gerald Krovatin     on behalf of Plaintiff    Rosebud Mangement, LLC gkrovatin@krovatin.com
              Gerald Krovatin     on behalf of Plaintiff    Microbilt Financial Services Corporation
               gkrovatin@krovatin.com
              Gerald Krovatin     on behalf of Plaintiff    MicroBilt Corporation gkrovatin@krovatin.com
              Gerald Krovatin     on behalf of Plaintiff    Princeton Alternative Income Fund, LP
               gkrovatin@krovatin.com
              Herve Gouraige     on behalf of Debtor    Princeton Alternative Income Fund, LP
               hgouraige@sillscummis.com
              James N. Lawlor    on behalf of Plaintiff    Matthew Cantor, as Chapter 11 Trustee for Princeton
               Alternative Income Fund, LP, et al. jlawlor@wmd-law.com, jgiampolo@wmd-law.com
              James N. Lawlor    on behalf of Defendant    Princeton Alternative Funding, LLC f/k/a Microbilt
               Capital Funding, LLC jlawlor@wmd-law.com, jgiampolo@wmd-law.com
              James N. Lawlor    on behalf of Trustee Matthew Cantor jlawlor@wmd-law.com, jgiampolo@wmd-law.com
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                              Form ID: pdf903              Total Noticed: 2


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              James N. Lawlor    on behalf of Spec. Counsel Michael Killourhy jlawlor@wmd-law.com,
               jgiampolo@wmd-law.com
              James N. Lawlor    on behalf of Counter-Defendant    Matthew Cantor, as Chapter 11 Trustee for
               Princeton Alternative Income Fund, LP, et al. jlawlor@wmd-law.com, jgiampolo@wmd-law.com
              Jeffrey M. Sponder    on behalf of U.S. Trustee    U.S. Trustee jeffrey.m.sponder@usdoj.gov,
               jeffrey.m.sponder@usdoj.gov
              Jennifer C. McEntee    on behalf of Interested Party    SunUp Financial, LLC
               jcranston@ciardilaw.com, dtorres@ciardilaw.com;sfrizlen@ciardilaw.com
              Jennifer C. McEntee    on behalf of Interested Party    Braviant Holdings, LLC
               jcranston@ciardilaw.com, dtorres@ciardilaw.com;sfrizlen@ciardilaw.com
              Jennifer C. McEntee    on behalf of Interested Party    Balance Credit 2 SPV, LLC
               jcranston@ciardilaw.com, dtorres@ciardilaw.com;sfrizlen@ciardilaw.com
              John C. Kilgannon    on behalf of Interested Party    admin jck@stevenslee.com
              John C. Kilgannon    on behalf of Interested Party    Covenant Strategic Income Fund Series
               Interests of the SALI Multi-Series Fund II 3(c)(1), LP jck@stevenslee.com
              Laura Kessler     on behalf of Debtor   Princeton Alternative Income Fund, LP
               lkessler@sillscummis.com
              Maurice R. Mitts    on behalf of Defendant   Princeton Alternative Funding Management LLC
               mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant   LJP Consulting LLC mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party    LJP Consulting LLC mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party Walter Wojceichowski mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party Philip N. Burgess mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party    MicroBilt Corporation mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant John "Jack" Cook mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant   Microbilt Financial Services Corporation
               mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant Alonzo J. Primus mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant   Rosebud Mangement, LLC mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party Alonzo J. Primus mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant Philip N. Burgess mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Interested Party    Microbilt Financial Services Corporation
               mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant   MicroBilt Corporation mmitts@mittslaw.com
              Maurice R. Mitts    on behalf of Defendant Walter Wojciechowski mmitts@mittslaw.com
              Meredith I. Friedman    on behalf of Defendant Timothy D. Anderson mfriedman@wilentz.com,
               ciarkowski@wilentz.com
              Meredith I. Friedman    on behalf of Defendant    Dinsmore & Shohl LLP mfriedman@wilentz.com,
               ciarkowski@wilentz.com
              Michael J. Duffy    on behalf of Defendant Alonzo J. Primus mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party    Microbilt Financial Services Corporation
               mduffy@mittslaw.com, agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant   LJP Consulting LLC mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant   MicroBilt Corporation mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party Alonzo J. Primus mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party    LJP Consulting LLC mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant Walter Wojciechowski mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant   Rosebud Mangement, LLC mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party    MicroBilt Corporation mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party Philip N. Burgess mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant   Princeton Alternative Funding Management LLC
               mduffy@mittslaw.com, agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Interested Party Walter Wojceichowski mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant John "Jack" Cook mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant Philip N. Burgess mduffy@mittslaw.com,
               agary@mittslaw.com;kbennett@mittslaw.com
              Michael J. Duffy    on behalf of Defendant   Microbilt Financial Services Corporation
               mduffy@mittslaw.com, agary@mittslaw.com;kbennett@mittslaw.com
              Mitchell Malzberg     on behalf of Other Prof. Bernard A. Katz mmalzberg@mjmalzberglaw.com,
               dlapham@mjmalzberglaw.com
              Paul R. DeFilippo    on behalf of Plaintiff    Matthew Cantor, as Chapter 11 Trustee for Princeton
               Alternative Income Fund, LP, et al. pdefilippo@wmd-law.com, jgiampolo@wmd-law.com
              Paul R. DeFilippo    on behalf of Trustee Matthew Cantor pdefilippo@wmd-law.com,
               jgiampolo@wmd-law.com
              Paul R. DeFilippo    on behalf of Attorney   Wollmuth Maher & Deutsch LLP pdefilippo@wmd-law.com,
               jgiampolo@wmd-law.com
        Case 18-14603-MBK        Doc 1018 Filed 01/15/20 Entered 01/16/20 00:34:22                 Desc
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                              Form ID: pdf903             Total Noticed: 2


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Ricardo Solano, Jr.     on behalf of Unknown Role Type    Sirius Investments SICAV, Sub-Fund
               Reserva rsolano@fklaw.com
              Ricardo Solano, Jr.     on behalf of Creditor    Sirius Investments SICAV rsolano@fklaw.com
              Richard D. Trenk    on behalf of Interested Party    Ad-Hoc Committee of Minority Shareholders
               rtrenk@msbnj.com, cdeangelis@msbnj.com
              Robert S. Roglieri    on behalf of Interested Party    Ad-Hoc Committee of Minority Shareholders
               rroglieri@msbnj.com, mmassoud@msbnj.com
              Ronald S. Gellert    on behalf of Interested Party    Ad-Hoc Committee of Minority Shareholders
               rgellert@gsbblaw.com, abrown@gsbblaw.com
              Sean O’Brien     on behalf of Creditor   Monterey Receivables Funding, LLC sobrien@lippes.com
              Sean O’Brien     on behalf of Creditor   Monterey Financial Services, LLC sobrien@lippes.com
              Sean O’Brien     on behalf of Creditor   Monterey Financial Services, Inc. Profit Sharing Plan and
               Trust sobrien@lippes.com
              Sergio I. Scuteri    on behalf of Defendant    Lead Bank sscuteri@capehart.com
              Stephanie L. Jonaitis    on behalf of Plaintiff    Fund Recovery Services, LLC
               jonaitis@pepperlaw.com, balaa@pepperlaw.com;molitorm@pepperlaw.com
              Stephanie L. Jonaitis    on behalf of Defendant    Microbilt Financial Services Corporation
               jonaitis@pepperlaw.com, balaa@pepperlaw.com;molitorm@pepperlaw.com
              Stephanie L. Jonaitis    on behalf of Defendant Philip N. Burgess jonaitis@pepperlaw.com,
               balaa@pepperlaw.com;molitorm@pepperlaw.com
              Stephanie L. Jonaitis    on behalf of Defendant Alonzo J. Primus jonaitis@pepperlaw.com,
               balaa@pepperlaw.com;molitorm@pepperlaw.com
              Stephanie L. Jonaitis    on behalf of Defendant    Princeton Alternative Funding, LLC f/k/a
               Microbilt Capital Funding, LLC jonaitis@pepperlaw.com,
               balaa@pepperlaw.com;molitorm@pepperlaw.com
              Stephanie L. Jonaitis    on behalf of Defendant    MICROBILT CORPORATION jonaitis@pepperlaw.com,
               balaa@pepperlaw.com;molitorm@pepperlaw.com
              Timothy H Caine    on behalf of Debtor   Princeton Alternative Funding LLC timothy@hea-ip.com,
               jcmccullough@kslaw.com
              Timothy H Caine    on behalf of Debtor   Princeton Alternative Income Fund, LP timothy@hea-ip.com,
               jcmccullough@kslaw.com
              U.S. Trustee    USTPRegion03.NE.ECF@usdoj.gov
              Valerie A. Hamilton    on behalf of Debtor    Princeton Alternative Income Fund, LP
               Valerie.Hamilton@law.njoag.gov
              Valerie A. Hamilton    on behalf of Debtor    Princeton Alternative Funding LLC
               Valerie.Hamilton@law.njoag.gov
              Valerie A. Hamilton    on behalf of Attorney    Sills Cummis & Gross, P.C
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                                                                                              TOTAL: 130
